  

 

A Gokten Past.
A Shining Future.

GOVERNMENT

Case 2:18-cr-00047-LGW-BWC Document 74 Filed 03/07/19 Page 1 of 2

LYNN COUNTY POLICE DL COGNE
Miranda Warning Rights and Waiver Fo VY

 
 

EXHIBIT

  

 

pate: | 64/2 S/o 4 pace:! SC)
MY NAMEIS: | Maneny ATKINSON - | ram l44 YEARS OLD.

MY ADDRESS IS: S875 DARgicn pw Hal

1 COMPLETED real 0 GRADE IN SCHOOL. IKNOW THAT

IS. cower
IS AN OFFICER WITH THE GLYNN COUNTY POLICE DEPARTMENT.

 

 

HE/SHE TOLD ME THAT:

1. [HAVETHE RIGHT TO REMAIN SILENT.
ANYTHING I SAY OR WRITE CAN BE USED AGAINST ME IN A COURT OF LAW.

me
3. IHAVETHE RIGHT TO TALK TO A LAWYER AND HAVE HIM PRESENT WITH ME

WHILE I AM BEING QUESTIONED.
4. IF ICANNOT AFFORD AN ATTORNEY, ONE WILL BE APPOINTED TO REPRESENT ME

BEFORE ANY QUESTIONING, IF I WISH.
5. ICAN DECIDE AT ANY TIME TO EXERCISE THESE RIGHTS AND NOT ANSWER ANY

QUESTIONS OR MAKE ANY STATEMENTS.

I UNDERSTAND MY RIGHTS. HAVING THESE RIGHTS IN MIND, I AM FREELY AND
VOLUNTARILY WILLING TO TALK ABOUT:

Rospery> VGCSH

 

I HAVE NOT BEEN THREATENED. I HAVE NOT BEEN PROMISED ANYTHING. I HAVE
NOT BEEN FORCED IN ANY WAY TO ANSWER QUESTIONS OR TO MAKE ANY

STATEMENTS.
Sign: of Ku Sar Officer: AE
x “ .

Witness:

 

 

1, You have the right to remain silent.

2. Anything you say can and will be used against
you ina court of law,

3. You have the right to talk to a lawyer or have
one with you when being questioned.

4. Wyou cannot afford to hire a lawyer, one will
be appointed to represent you, if you wish.

5. You can decide at any time to exercise these
rights and not answer any questions or make
any stalements.

 

 

 
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Glynn Connty Police Department |

157 Public Safety Boulevard Brunswick, Georgia 31525
Dispatch: (912) 554-3645 Fax (912) 554-7885
Administration: (912) 554-7800

www.police.glynncounty-ga.org

   

 

CONSENT TO SEARCH FORM

1, MANED4 AT Kiuson) , having been

advised that law enforcement officers wish to make a search of the (property)

under my control or custody, | hereby permit Officer__S. pwreY and
any other officers designated by him/her, to assist in a search of my (property).

 

Property Location: Gch) :
PROPERTY DETAILS

Type: CEU PHONG Make: Le Jar Model:_ FlaP Pu agy
Color: BACK Serial number (if applicable):

| understand that the purpose of the consent to search is for the express purpose
of searching said (property) for evidence relating to the crime of:

 

 

 

| have not been promised a reward of any type. | have not been threatened in
any manner. | freely and voluntarily give my consent to conduct said search of
the above described (property) to the above officer with full understanding of my
rights and actions. | understand that this consent is voluntary on my part and |
do not have to consent to this search if | choose not to.

Signed this HH day of __ SCPIEMBE 20-18
Signature:_y¢ \, Qual Qual
Witness: A 7 + Zol,

 
